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                         EXHIBIT A
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                                     Confidential Summarv of Investigation Report
                                           Complaint of Unlawful Discrimination
                                Daniel Finkenthal on Behalf of Anonymous Complainant vs.
                          Arthur Gerwig, Takashl Nakajbna. and Hector Garcia Villa, Respondents
                                                    November 1, 2017


 PURPOSE OF lNVESnGATlON.

 This matter relates to an administrative Investigation undertaken for Palomar Community District (District). This matter
 related to lnvesUgating material that was deemed objectionable which had been displayed on walls, doors and over doors
 In the Physics and Engineering Department at the District's main campus. Daniel Finkenlhal (Dr. Finkenthal). the newly
 appointed Department Chair, had brought forward the complaint on behatf of an anonymous student, when he assumed
 his leadership role and claimed that the material was objectionable, discriminatory and inappropriate to be displayed or
 posted on District property.

 The scope of this investigation was to determine whether certain District employees allowed and/or were aware that the
 objectionable material was displayed in the Physics and Engineering Department in certain areas, visible to both other
 employees, as well as students. Specffically, Professors Arthur Gerwig (Mr. Gerwig), Takashi Nakajfma (Mr. Nakajima)
 and Hector Garcia Villa (Mr. Garcia Villa) were observed to teach in the department in the general area of these materials.
 The materials Involved included pictures. Images. wording and other items that were seen as patenUy offensive,
 discri"'inatory In content and nature and generally lnappr:lpriate for a District environment. Added to thfs. Or. F:nkenthal
 alleged that Mr. Gerwig and Mr. Nakajima had utilized a syllabus and other material that was inappropriate, threatening in
 nature and inconsistent with the department's philosophy and goals.


 BACKGROUND AND METHODOLOGY OF INVE&nGATION.

 This matter began in May 2017 after Dr. Flnkenthal was appointed the Chair of the Physics and Engineering Department.
 Previously, Mr. Nakaj1ma had been the Department Chair for several years. Dr. Finkenthal contacted his dean. Kathryn
 Kailikole(Dr. KaB!kole), who serves as the Dean. Mathematics and the Natural and Health Sciences, to report that a
 student had contacted him wlth concerns regarding various types of posters and other materials that were posted
 conspicuously on tne walls and doors of rooms N8-249 and NS-252. Dr. Flnkenthal showed Dr. Kailikole the various
 materials and Indicated that he did not want to disclose the name of the student for fear that the student would be subject
 to some form of retaliation.                                 ·

 On May 31, 2017, Dr. Kailikole reported to Shawna Cohen (Ms. Cohen), Manager, Equal Employment Opportunity and
 Compliance and the Districts Deputy Tdle IX Coordinator. that she had received the report from Dr. Finkenthal regarding
 the offensive postings in the two rooms. The foUowing day, on June 1, 2017. a group of District administrators visited NS.
 249 and NS-252 to view the areas. The officials determined that a number of postlngs had been placed on the walls and
 other surfaces that violated federal, state. and District nondiscrimination regutallons. Including Title IX. The officials took
 pictures of the offending items and removed them from the rooms. retaining them for future reference.

 Jack Kahn, Assistant Superintendent/VIce President, Instruction (Dr. Kahn), Dr. Kailikole, and Ms. Cohen met with Dr.
 Rnkenthal, Mr. Garcia VDia. f}.r. Gerwig, Mr. Nakajima, and Susan Snow (Ms. Snow). PaJomar Faculty Federation
 Grievance Officer, on June 11, 2017 for purposes of determining whether the Physics and Engineering faculty had prior
 knowledge of the postings. During the meeting, Ms. Cohen distributed the postings to the parties and asked whether the
 faculty had seen them before. Or. Flnkenthal stated that he saw the items after the anonymous student had pointed them
 out to him; the other three faculty stated that they had never seen the postings before. Mr. Garcia Villa. Mr. Geiwig, and
 Mr. Nakajima alllndicated that they occasionally used the two rooms. whereas Dr. Finkenthal stated that he never used
 them.

 On June 28. 2017, Adrian Gonzales, Assistant SuperintendenWlce President, Student Services and the Oistricfs Tille IX
 Coordinator, notified Ms. Cohen that an investigation into the complaint was necessary. Dr. Finkenthaf met with Ms.
 Cohen on June 29. 2017 to present additional information relevant to the investigation. The District retained an
 Independent Investigator and attorney, Jeffrey Love (fact finder), to conduct the Investigation. Mr. Love commenced the
 investigation on July 11. 2017. The Investigation Involved the review of documents, Including evidence and applicable
 District rules and regulations, as well .as conducting interviews of District employees. Once factual evidence was
 developed, the various statements of the Interviewees were compared and contrasted with one another as well as other
 evidence and detenninations of credibility were established. Once credibility was established along with a factual
 framework of the alleged events, conclusions were formed based on the greater weight of the credible evfdence. For the
 purpose of findings, direct and circumstantial evidence may be given equal weight.



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  SCOPE OF THE INVESTIGATION.

  The scope of this investigation was to determine:

  A. Did District employees allow andlor condone objectionable and/or discriminatory material to be displayed on
     District property in violation of District rules?


  SOURCE OF THE COMPLAINT.

  A. Daniel Finkenthal, Ph.D. (acting on behalf of an anonymous student)
        Professor/Department Chair
        Physics and Engineering
        Palomar Community College District


  APCUSEDifOCUS EMPLOYEES.

  A. Hector Garda Villa
           Assistant Professor
           Physics and Engineering
           Palomar Community College District

  B. Arthur GeiWig
     Associate Professor
        Physics and Engineering
        Palomar Community College District

  C. Takashi Nakajima
        Professor
        Physics and Engineering
        Palomar Community College District


  WITNESSES.

  A. Daniel Finkenthal, Ph.D.
          Professor/Department Chair
          Physics and Engineering Department
          Palomar Community College DiStrict

  B. Kathryn Kalllkole, Ed.D.
          Dean
          Mathematics and the Natural and Health Sciences Division
          Palomar Community College District

  C. Arthur Gerwig
        Asscciate Professor
         Physics and Engineering Department
         Palomar Community College District

  D. Takashl Nakajima
        Professor
        Physics and Engineering Department
        Palomar Community College District

 E. Hector Garcia VIlla
       Assistant Professor
          Physics and Engineering Department
          Palomar Community College District

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  F. Susan Snow
        Professor
        Mathematics Department
        Palomar Community College District


  CREDIBILITY OF THE WITNESSES.

  The analysis of the credibility of the witnesses is an impor1ant aspect of a fact-finding investigation. As an accepted rule
  of evidence, a fact finder can disregard the statements of a witness who has been found to have provided false or
  unreliable information during their testimony in a matter. Those witnesses' statements can be disregarded In their entiret~
  and not believed unless there Is compelling evidence to conclude that individual statements otherwise are true.
  Concerning the witnesses' statements. this fact finder considered:

  a) The witness' demeanor while providing a statement and the manner in which he/she provided the statement.
  b) The character of the wHness' statement.
  c) The extent of the witness· capacity to perceive, to recolrect. or to communicate any matter about which he/she gave a
     statement
 . d) The extent of the witness' opportunity to perceive any matter about which he/she gave a statement.
  e) The witness' character for honesty or veracity or their opposites.
  f)   The existence or nonexistence of a Sias, Interest. or other motive.
  g) A statement previously made by the witness that is consistent with his/her statement during the fact-finding
       investigation.
  h) A statement made by the witness that is inconsistent with any part of his/her statement during the fact-finding
     investigalfon.
  i)   The existence or nonexistence of any fact given in statement by the witness.
  j)   The witness' attitude toward the fact-finding investigation In which he/she gave a statement or toward the giving of a
       statement.

                                                         Discussion of Witness Ctedibllitv.

  Witness Daniel Flnkenthal, Ph.D.
  Dr. Flnkenthal appeared to be a credible witness in this matter. Dr. Finkenthat is the current Chair of the Physics and
  Engineering Department af the District Or. Flnkenthal came forward after he had been elevated to his current position In
  order to make his complaint concerning the display of what he considered objectionable material in or about the Physics
  Department. Or. Flnkenthal was deemed credible due to the fact that his statements to this fact finder tended to be
  corroborated by the physical evidence located In the area of the Physics Department, as well as the statements of other
  credible witnesses.

  Kathryn Kalllkole, Ed.D.
  Dr. Kailikote appeared to be a credible witness in this investigation. Dr. Kallikole said that she observed the offensive
  materials and further noted that Mr. Geiwig and Mr. Nakajima had speciftcaUy denied knowledge of the materials that
  were displayed in areas that they were known to fre~ent on a daOy basis. Dr. KaUikole also noted that she believed both
  Mr. Gerwig and Mr. Nakajima had been insubordinate concerning the publication and use of certain inappropriate polfcy
  and rules statements. syllabi and a student warning letter.

  Witness Arthur Gerwig
  Mr. Gerwig did not appear to be a credible witness in this matter. Mr. Gerwig has been a lon~rterm faculty member in the
  Physics and Engineering Department, and seemed to be unaware that materials had been displayed on various waRs In


  ' See CsliiGmla Civil JUlY lnSIIUCtlon SecClon 5003.




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  the area in which he has worked nearly on a daily basis. It appeared to the fact finder that Mr. Gerwig•s statements were
  implausible, in that he would have observed these materials having worked in that area.

  Witness TakashJ Nakajima
  Mr. Nakajima also appeared to lack credibility in his statements to the fact fmder. Many of the objectionable materials that
  were observed and removed from the Physics and Engineering Department were displayed on the doors and in the room
  associated with areas that Mr. Nakajima used on a daily basis. Mr. Nakajima's statement that he was unaware of many of
  these materials was Implausible and in~sistent with rational reason and logic.

  W1tness Hector Garcia VIlla
  Mr. Garcia VIlla appeared to be a credible witness In this matter. Mr. Garcia Villa is a relatively new Assistant Professor to
  the department. Mr. Garcia Villa said that he was aware of some of the materials that had been displayed In the area.
  however, he was uncertain as to the ownership or who had authored these items. Mr. Garcia Villa was deemed credible.
  as he was relatively new to the department. did not typically use the rooms where the associated objectionable materials
  were located and appeared earnest and truthful in his statements.

  Witness Susan Snow
  Ms. Snow did not appear to be a credible witness in this matter. Ms. Snow appeared as a witness; however. she was little
  more than a thinly-veiled advocate for Mr. Gerwig and Mr. Nakajfma. Ms. Snow had represented both Mr. Gerwig and
  Mr. Nakajima at their interviews as their union representative as part of the Palomar Faculty Federation. Ms. Snow
  daimed that she was a witness in this matter, as she had observed an item that had been hung over a door in one of the
  offices in the Physics and Engineering Department. Ms. Snow knew early on, and prior to her representation of
  Mr. Nakajima and Mr. Gerwig. that she would therefore be a witness in this matter, yet she sat through and participated in
  their Interviews, as a representative. Ms. Snow appeared to be biased and motivated to advocate for her association
  members, and was seen as a witness who lacked credlbility.


  FINDINGS.

 A. Did District employees allow and/or condone obj&Gtlonable and/or discriminatory material to be displayed on
    District property In violation of District rules?

     Short Answer: YES

                                                                Discussion

 Background.

  Dr. Flnkenthal indicated to the fact finder that he believes Inappropriate behavior relevant to the allegations had taken
  place in the Physicu and Engineering Department under the chairmanship of Mr. Nakajima for a number of years.

 The facts further demonstrate that in 2009, a student with certain disabilities had fded a complaint with the Department of
 Education. Offtee of Civll Rights regarding discrimination by the Physics and Engineerfng faculty. The Office of Civfl
 Rights had upheld the student's complaint and Or. Flnkenthal provided a copy of these relevant documents to the fact
 finder. Dr. Flnkenthal also provided the fact finder with emails he had received that are purported to be between
 Mr. Nakajima and a student that had occurred on or about August 24. 2009.

 Dr. Finkenthal pointed out that these emans display that Mr. Nakajima had violated the Americans with Disabilities Act
 (ADA) and refused to make a reasonable accommodation to the student who filed the complaint. Or. Finkenthal noted
 that this exchange occurred only four months after the Office of Civil Rights (OCR) had published their report concerning
 the previous violation of the ADA.

 Materials Found Displayed in Rooms N§.249 and NS-252.

 As part of the scope of this lnvestJgaUon, a number of items that were located in the areas surrounding rooms N$-252 and
 NS-249 in the Physics and Engineering area of the NS Building were documented In place. and removed. This fact
 finder's Charge was to lnvesUgate Whether these items were placed by any District staff or whether any District staff


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  members had allowed the placement of these materials, or were aware of their presence. The various Items are identified
  by item number as detailed below.




  a) Issues of Sexual and/or Gender, Racial, National Origin Harassment/Discrimination Relevant to Above Items

  Several of these items concerned issues of either sexual and/or gender harassment and discrimination. For instance,
  Item No. 2 was a document that was posted on the door exiting into the hallway from Room NS-249. This item which was
  titled ••carbon ResisterS' provided a mnemonic in order to allow students to memorize the names of the various colors of
  the bans on resisters. Mnemonics are often aides to the memory and serve students and others to recall specific details
  with greater ease.
 On lhis item, the mnemonic contained a negative. violent and racial reference to African American males raping women.
 The mnemonic stated, •slack Boys Rape Our Young Girls But Violet Gives Willingly Get Some Now.u Additionally, it also
 makes an objectifled reference to a woman (Violet) who is purported to be promiscuous. These sorts of comments touch
 on and conoem Issues of racial, sexual and/or gender harassment and discrimination.

  Item No. 3 which was tiUed the uvogue May Edltlorf portrayed a student lying across the hood of a pickup truck holding a
  paper where a large phallic symbol was drawn upon il This item also displays an issue of sexual or gender discrimination
 by portraying a male penis in a drawing fn an enlarged and gratuitous characterization. This item was posted on the file
 ~et in       Room NS-249.

 Item No. 4, Identified as "2017 You Know You Want Juant Mea portrayed a male adult student who appeared lo be LaUno
 In race. The document indicates that women might have some form of sexual desire for the individual portrayed in the
 document This lndividual was identified as a student and the term want "juanr was a joking reference to the individual's
 true name, Juan. The document lndicat,s "Hello Ladie~ in an apparent joking Invitation to women who might want to
 have some form of sexuaJ contact wi1h the individual portrayed therein.

 Item No. 5, another document located in N8-249 posted on the inside of the door shows a subject identified generally as a
 student In the Physics and Engineering Department staring at a large item that states "Dick got her like." There Is a hash
 tag remark below that states "#black cock slut• This item was making reference to a penis and specfflcally the penis of
 an African American.

 Item No. 6 was essentially a covering of a window located in a door that leads to the hallway from Room NS-249. This
 llem had the word "Peek-a-Boo" written on it as well as "Jen's height in lnfluence." "Jen" was kientlfled by an Interviewee
 as a former student assistant who was short In stature. This Item appears to have been posted In order to make light of
 "Jen's" height as well as her particular influence as a student assistant Both of these references can be seen as
 derogatory both towards the student concemlng her height. as well as her influence In the department as female student
 staff member.

 b) Issues of Profanity andlor Intimidation/Inappropriate Behavior Relevant to Above Items

 Item No. 7 was a paper sign taped to the coffee maker in the NS-252 laboratory classroom. This sign states "Tum this
 Shit Off'. This sfgn was Jndfcatlve of a seeming tolerance for profanity and/or intimidation In the department. In addition
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  to this. Item No. 8 was a sign posted above the sink in NS-252 that stated. '•Do Not Leave Your Shit in the Sink." Again.
  this sign uses profanity and tends to demonstrate issues of profanity and/or intimidation In the department.

  Item No. 9 was a sign posted above the coffee pot and stnk area in NS-252 that states. "Stop Making Fucking Tea in the
  Kettler Once again, this slgn makes reference to Issues of profanity and intimidation In the department Atl of these signs
  posted in or about the coffee pot. kettle/sink area were both open to both staff members. as well as students.

  FinaUy. Item No. 13 was a memorandum written and posted by Mr. Nakajima that contains threatening language
  concerning expellmg a student from 0 istrict and ruining their ·ufe" over a missing Fluke mullimeter. This item was left up
  long after the meter had been returned and/or located and was seen as another display in support of an intimidating
  academic environment.

  Additional Documents Relevant to this Fact Finding.


      A       Physics 230/231 Student •cautionary Letter'
      B       Regulations and Rules for Physics 230 Lab
      c       Auaust 24, 2009 email exchange between Mr. Nakajima and student
      D       Allri116, 2009 United States Deoartment of Education, OCR. Reaion IX Letter to the District

  a) Syllabus. Physics Department Policies/Procedures and Warning Materials

  As pan of the Investigation. the fact finder was provided documents identified above as Document Items A and B. These
  items were seen as inappropriate and Dr. Kailikole had instructed faculty to cease using these items In 2016. These items
  had been placed on a non-District website known as PCpepso.com, which had been created years ago by Mr. Gerwig and
  remains active to this day.

  Dccument Item A was titled To Physics 230/231 students from Physics 230 and 231 instructors. This item appears to be
  a portion of a syllabus for the Physics 230/231 courses. A review of this document demonstrates a rather harsh and
  threatening tone. Here. the document tends to threaten students who engage in certain behaviors such as .....studying
  only for an exam, trying to get a maximum score with a minimum effort. and dropping a course just before the deadline. a
  The document states •...we don't want to see those students in our classes anymore!'

  The document goes on to make other negative and harsh comments making reference to students that are ,azy" or who
  "don't want to change your bad study hablt.v This document encourages such students to 11give your seat to someone
  else who is more serious than you. 11 Although it is laudable to encourage students to academic excellence and rigor, such
  commentary in a document seems inappropriate. threatening and demonstrates an unwelcoming commentary concerning
  these dasses. Additionally. the second page of this document has an area that can seemingly be detached where a
  student was requested to print their name and sign and date the document agreeing to certain terms. These terms state:

          I (print your name) reed the statements above. I am serious about my education and will follow the
          guidelines given above. I will be working my hardest to learn the subjects from today, and I will decide
          whether or not this class is for me within the first 4 weeks. If I do not drop by the end of the fourth week, I
          w/11 receive a course grade of whatever I deserve.

  This document requires a signature and states •••••this sheet is to be turned in by Friday of the first week of a semester.
  Any student who failed to turn it In will be dropped from the course.~~

  Here. It appears that the student Is required to sign lhis document and the document tends to want to amend the official
  course drop policies by the District. The document directly states that if a student falls to agree with the terms of this
  document and sign In agreement, that thjty would be dropped from the course.

  In addition to this required signing aspect of the document. the document also details how students wiU be treated In
  class. ln relevant part. the document states     a ••• you'll be treated exacUy the way you treat this class. If you want to be
  treated nicely. treat this class and the professor nicely."

  This document tends to demonstrate a threatening and inappropriate tone and required student& to sign a document that
  they were not legally bound to sign under pain and penalty of being dropped from the course.


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 Document Item B seems to be the Rules and Regulations for the Physics Lab 230. This document. like Document Item A.
 has a threatening tone and makes reference to ,azy" students and encourages other students to nkick our those students
 that they deem to be "lazy: EssentiaUy, this document gives authority for students to apply peer pressure in what
 appears to be a rather capricious fashion in detennining who they subjectively believe is being '*lazy" and subjecting that
 student to be forced out of the laboratory course.

 Ironically, the document states ln bold underlined print that the •.. .Instructor Is not available to answer any questions
 regarding the lab during the tab period." Again. the instruction states " ...if anyone who is not willing, capable, or lazy is In
 your group, kick that person out from your group.D In a rather odd commentary, the document goes on to state •.•.this
 sounds very cold, but unless you don't mind losing your job because if that person does not do his/her part, you have to
 learn how to protect yourself."

 Essentially, the document and Its authOrs, Mr. Gerwig and Mr. Nakajima, are encouraging students to self-select other
 students from whom they differ and feeJ might not be operating or working to a particular standard. Essentially,
 Mr. Nakajima and Mr. Gerwig are allowing students to grade other students, something that is only under the purview of
 Mr. Gerwig and Mr. Nakajima as faculty of the District. This document. like Document Item A, contains a threatening tone
 and gives ather students seemingly unfettered authority to pressure and/or remove other studenls from the course in what
 could only ·be seen as an inappropriate delegation of professorial authority.

 Knowledge of the Materials.

 One of the issues In this fact-fmdlng investigation was to determine whether any members of the faculty had knowledge of
 the materials that were posted. Although during a meeting on June 22, 2017. both Mr. Gerwig and Mr. Nakajima denied
 general knowledge of any of these materials. the facts in this matter demonstrate that both of these faculty used the
 classrooms where these items were openly and notoriously posted for all to see.

 Even though these two faculty denied particular knowledge during this meeting. and generally when interviewed by the
 fact finder. the greater weight of the credible evidence demonstrates that both Mr. Gerwfg and Mr. Nakajima knew, or
 should have known. about the presence of these documents. Both faculty knew, or should have known. thai these
 materials were patently offensive, Inconsistent with the District's policy concerning sexual and/or racial discrimination and
 further Inconsistent with the academic goals of the District.

 The facts in this matter tend to demonstrate that Mr. Garcia Villa, a newly appointed Assistant Professor, was generally
 unaware of these documents. as he typically did not use the rooms where the documents were identified. It appeared to
 this fact finder that these rooms were typically and nearly exclusively used by both Mr. Gerwig and Mr. Nakajima.

 In addition to the materials Identified a& posted on walls and doors in these areas, both Mr. Gerwig and Mr. Nakajima
 appeared to have been aware and/or even authored documents that were placed on an unauthorized non-District
 sponsored website known as "PCPepso... The facts in this matter demonstrate that PCPepso was set up by the
 department and was loosely run by student assistants with knowledge of intemet technology. This website contained
 documents that portend to be syUabi and recitations of the department's rules and regulations; however, these Items were
 seen as offensive, threatening, inappropriate, and Inconsistent With District policy and/or state and/or federal law.

 Concerning general knowledge of the materials located In rooms NS-249 and NS-252, the greater weJght of the credible
 evidence demonstrates that both Mr. GerwJg and Mr. Nakajima were well aware of the materials that had been placed in
 this area. It appeared to this fact finder that there had been a general aWtude of indifference to following the rules of the
 District concerning the avoidance of sexual harassment. discrimination and maintaining a wholesome student academic
 environment. It appeared that Mr. Gerwig and Mr. Nakajima routinely departed from established protocols and propriety,
 and had resisted changes by Dr. KaUikole.

 According to Dr. Ftnkenthal. both Mr. Gerwig and Mr. Nakajima routinely, and continually. used rooms NS-249 and NS-
 252 and were often In that area. Even Mr. Gerwig stated that If he were looking for Mr. Nakajima, he would look in room
 NS.249. For Mr. Gerwig and Mr. Nakajima to claim that they were unaware of the Items that were openly and notoriously
 displayed there requires a departure from reason, common sense and logic. Clearty. they were aware of these materials,
 had either displayed the Items themselves or allowed and even encouraged others to do so. These items were
 Inappropriate, displayed racial, gender and naUonal klentity discrimination and harassment. and supported an Intimidating
 and unwelcoming academic environment. Dr. Finkenthal accurately described these areas as displaying a •frat house•
 environment.



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 Dr. KaUikole told the fact finder that Mr. Gerwig and Mr. Nakajima had been insubordinate to her direction to remove the
 materials from the PCpepso website and to refrain from using the documents concerning their dasses. Mr. Garcia ViDa
 was aware of these directions and never used these materials, as directed by Or. Kallikole. Even so, Mr. Nakajima and
 Mr. Gerwig continued to allow the PCpepso website to function, claiming they were unaware how to clos'e the link and
 disaDow access.

 In summary, even though Mr. Gerwtg and Mr. Nakajima deny knowledge of the aforementioned materials found in rooms
 NS-249 and NS-252, the greater weight of the credible evidence demonstrates that they were aware of the materials,
 allowed and/or participated in their postings and display, and were untruthful concerning their assertions otherwise.

 Findlnas In Reference to Respondents.

 Mr. Garcia VIlla

 1. PCPepso Website Documents

 Mr. Garcia Villa said that he was aware of the PCPepso website. Mr. Garcia Villa acknowledged that he had never used
 the documents contained on this unofficial website set up by Mr. Gerwig in the Physics and Engineering Department.
 Mr. Garcia Villa recalled that Dr. Kalllkole had admonished him, as well as Mr. Gerwig and Mr. Nakajima, not to use these
 documents. Mr. Garcia Villa Is a recently-hired Assistant Professor working full-time in the last year. It appeared to the
 fact finder that Mr. Garcia Villa abided by Dean Kaflikole's direction and did not use these documents.

 2. Offensive Materials ln Rooms NS-252 and NS-249

 The facts tend to demonstrate that Mr. Garcia Villa was a relatively new Professor in the. Engineering and Physics
 Department. Mr. Garcia vrua taught classes, as well as a lab portfon in support of his lecture courses. Mr. Garcia Villa
 indicated that some of the materials that were Identified as Items No. 1 through 13. above, were placed In the interior
 areas generally of Room NS-252 and NS-249. Mr. Garcia VUia safd that he did not utilize Room NS-249 and was rarely in
 that area. Interestingly, Mr. Garcia Villa seemed more forthright concerning his observations than Mr. Gerwig and
 Mr. Nakajima, who are known to utilize these rooms on a frequent basis. There was no information to conclude that
 Mr. Garcia Villa was aware of the more offensive materials located in these rooms, nor that he participated and/or
 encouraged their display.

 3. Truthfulness

 This fact finder found that Mr. Garcia VIlla was a credible witness in this matter. There was no credible evidence to
 condude that Mr. Garcia VIlla had been untruthful in his statements to this fact finder when questioned concerning the
 documents on the PCpepso website or the offensive material that was found to have been displayed in Rooms NS-252
 andNS-249.

 Mr. Gerwig and Mr. Nakajima

 1. PCPepso Website Documents

 The facts In this matter demonstrate that Mr. Gerwig had developed the PCpepso website. This website was an unofficial
 District website that certain members of the Physics and Engineering Department used to post materials, such as syllabi
 and various rules and regulaUons. Somf! of these materials, Identified as Document Items A and 8, above were identified
 as being problematic and lnappropriate. The facts demonstrate thal in 2016, Or. Ka~lkole directed staff that these
 documents not be used due to the inappropriate language and tone contained therein.

 Even so, these documents remained on the website and were seemingly avaDable to students even though there was
 Insufficient credible evidence to show that students were purposely directed to this website after Dr. KaDikole's dfrecUon
 not to do so. Mr. Gerwig was responsib!e for maintaining this website, but claimed that he was unable to access the
 website to make any partJcular changes as this task had been assigned to previous sbJdents who acted as "webmasters."
 The facts demonstrated though that Mr. Gerwig made no real efforts in attempting to contact or take steps to remove the
 documents from the website after direction had been given to remove Document Items A and B from the website by
 Dean KaUikole.

 Document Items A and 8 were documents that seemingly were created by Mr. Gerwig and Mr. Nakajima which, taken
 together, formed a syllabus for students for the Physfcs 230 and 231 class Instruction. Both of these documents

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                                                                                                          Exhibit A
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  contained harsh verbiage, referred to students as being lazy and essentially encouraged students to take negative action
  against other students. For instance, Document Item B states In relative part. "If a member Is not working or contributing
  for the group. 1encourage you to kick out that student• Here. the document purport& to allow and even encourage to take
  retrlbutfon on other students that they feel might not be "contrlbutlngn to a group effort. Clearly. this sort of peer pressure
  is inappropriate. as the faculty member should decide as to whether a student is putting forth sufficient effort in a group
  environment It appeared to this fact finder that Document Item B attempts to relegate the duties of a faculty member to
  peer students concerning the perfonnance of others.

  Additionally, both Document Items A and B make reference to the term '1azy. 11 Whereas laziness is not considered a
  laudable trait concerning academfc performance. such language and negative characterizations seem inappropriate in a
  professional academic document such as these purport to be. It was clear to this fact finder that based on the greater
  weight of the credible evidence these documents were created in collaboration between Mr. Gerwig and Mr. Nakajima.
  Even though Mr. Nakajima attempted to claim some predecessor had created Document Item B described as the
  Regulations and Rules for Physics 230 Lab the facts tend to demonstrate that this is not true. Mr. Gerwig seemed to
  recall that he and Mr. Nakapma had crafted this document together, and the plain evidence in the document demonstrates
  that the only instructors referenced in the document were, in fact. Mr. Gerwig and Mr. Nakajima. There was no reference
  to any other faculty within this document.

  Both Document Items A and B tend to depart from the District's code of ethics. These Items do not tend to encourage the
  free pursuit of teaming In their students, nor do they demonstrate respect for students as individuals. Instead. these
  documents present a harsh and threatening tone and encourage students to engage In self-selection by ''kicking out"
  other students that they feel might be ,azy" or do not "deserve the same score" as they do. Neither Mr. Gerwig nor
  Mr. Nakajima seemed to understand or maintain their •proper roles an intellectual guides and counselors." Instead. they
  wrongfully delegated their authority and duties to students to essentially pollee other students In a group environment.
  Such authority and encouragement can lead to disastrous results. including the development of cliques, discriminatory
  behavior and bestowing of inappropriate authority to those who will not wield that authority in a prudential fashion.

  2. Offensive Materials In Rooms NS-252 and NS.249

  Concerning the offensive materials located in Room NS-252 and NS-249 Identified herein as Items 1 through 13. it was
  dear to the fa(;t finder that both Mr. Gerwig and Mr. Nakajima were aware of these materials. and had essentiaOy allowed
  their display, participated in their d1splay'cr were recklessly Indifferent to the display of these items. The display of these
  Items seems consistent with the tone as demonstrated In the two documents Identified as Item A and Item 8 above. As
  Dr. Finkenthal desaibecl. Mr. Gerwig and Mr. Nakajima encouraged a "frat house" environment In the department and
  seemed to allow and encourage discriminatory behavior. as displayed In these offensive materials. and encourage other
  students to participate In this wrongful conduct.

  Both Mr. Gerwig and Mr. Nakajima claimed that they were unaware of the more discriminatory and wrongful documents.
  However. the greater weight of the credible evidence. as described above under SecUon X.A.6, demonstrates that they
  were well aware of these Items, but refused to acknowledge their presence in some attempt to evade culpability for either
  posting these materials or allowing their students to do so. Many of these items appear to have been potentially crafted
  by students that were in the Physics and Engineering Department.

  Allowing these items to be created and then posted in the department demonstrated that Mr. Gerwig and Mr. Nakajima
  had given their imprimatur for students to engage In discriminatory and biased activities. Indeed. some of the items that
  had been identified in the room lhal Mr. Nakajima and Mr. Gerwig often used (NS-249) and specifically the •carbon
  resisters• mnemonic learning aid demonstrate a complete departure from the District's mandate of providing an academic
  environment free of discriminatory content and racist/sexist stereotypes. That these items were openly and notoriously
  displayed in the department where students often congregated would seemingly encourage students to engage in similar
  behavior and It appears that they did so.

  In addition to obvious departures from the District's rules concerning discrimination and harassment, several items, such
  as various signs and notes located In room NS-252, in or about the sink and coffee service area displayed foul language
  and intimidating contentlhal was wholly inappropriate in a professional academic environment. The Idea that Mr. Gerwig
  and Mr. Nakajima were not fully aware of all of these Items is absurd. The District has rules concerning sexual
  harassment and intimidation. B.P. 3430 Prohibition of Harassment states in relevant part:

           The District shall b9 free of sexual harassment and aH forms of sexual Intimidation and exploitation
           Including acts of sexual violence. II shall also be he of other unlawful harassment, Including that which Is
           based on any of the following statuses: race, religious creed, color, national origin, ancestry, physical

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                dlsabHity, mental disability, medical condition, genetic Information, marital status, sex, gender, gender
                identity, gender expression, age, or sexual orientation of any person, or because he/she Is p6rceived to
                have one ot more of the foregoing characteristics.               ·

       In addition, the District has rules concerning general harassment that would be based on a legally recognized protected
       characteristic. A.P. 3430 Prohibition of Harassment states in relevant part

                General Harassment - Harassment based on race, religious creed, color, national origin, ancestry,
                physical disability, mental disability, medical condition, genetic information, marital status, gender, gender
                identity, gender expression, sex, age, or sexual orientation of any person, or the perception that a person
                has one or more of lhe8e characteristics is Dlegal and violates District policy. Gender based harassment
                does not necessarily Involve conduct that is sexual. Any hostile or offensive conduct bBS8d on gender can
                constitute proh1bit8d hBt'Bssment

       Apart from these harassment and discrimination rules, the District's mission statement requires d[dQversity in learning
       environments. phUosophles. cultures. beliefs and people" as well as •[qnclusiveness of individual and collective
       viewpoints."                         •

       Article 3: Code of Ethics of the Constitution of the Faculty of Palomar College states, in relevant   part:
               Faculty members have an obligation to the District. their students, colleagues, profession, the public and
,.-.           themselves to maintain the highest standards of elhicBl conduct. In recognition of this obllgaUon, faculty
               members adopt the following standards of ethical conduct: Adapted from the American Association of
               University Profe$SOrs (AAUP) Ethics Statement.

                1. Professors. recognizing their social responsibility:
                    •    Develop and Improve scholarly competence,
                    •    Exercise ctfUcal self-discipline and judgment In transmitting knowledge.
                    •    Practice Intellectual honesty.

               2. Professors. as teachers:
                   • Encourage the free pursuit of leaning in their students.
                    •   Demonstrate respect for students as Individuals,
                    •   Ksep to their ptOper roles as intellectual guides and counselors.
                    •   Evaluate students In sn unbiased manner,
                    •   Respect the confldentlaflty of students,
                    •   Acknowledge significant or scholarly assistance from students.
                    •   Do not exploit, harass, cr discriminate against their students.
               3. Professors, as colleagues:
                   • Do not dl$crlmlnste against or harass colleagues,
                   o   Respect and defend the free inquiry of associates,
                   • Exchange criticism and ideas,
                   • Acknowledge academic debt,
                   • Strive to be objective In their professional judgment of colleagues,
                   • Accept their share of faculty responsibHitles for the governance of their institution.

             · 4. Professor:;, as members of an academic institution:
                    o   Seek to be effective teachers and scholars,
                    •   Uphold academic freedom,
                    •   Maintain their right to criticize and seek revision,
                    •   Give due regard to their responslbiliUes within the institution. when considering termlnalion of
                        their employment, give due notice of their intentions.

               5. Professors, as members of their community:
                   • When they speak or act as prhtate persons avoid creating the impression of speaking or acting for
                       their Dlslrfct,
                   • Promote free inquiry and further public understanding of academic freedom.,.

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       Finally, B.P. 3050 Institutional Code of Ethics states that ''[tJhe District is committed to the highest ethical standards In
       furtherance of our mission of education ~nd public service:

       Excellence in teaching, Ieeming. and service
       Integrity as the foundaUon for all we do
       Access to our programs and services
       Equity and fair treatment of all in our daily interactions
       Diversity in learning environments, philosophies, cultures, beliefs, and people
       Inclusiveness of individual and collective viewpoints
       Mutual respect and ttust through transparency, civility, and open communications
       Creativity and Innovation In engaging students, faculty, staff. and administrators
       Physical ptesence and participation in the community"

       Here, Mr. Gerwig and Mr. Nakajima departed from the District's anti-harassment and discrimination rules and further
       violated their duties as faculty of .the District. It was clear, based on the greater weight of the credible evidence developed
       in this ln~estigation, that both Mr. Gerwig and Mr. Nakajima were aware of the use of the inappropriate document&
       identified as Document Items A and 8, above ss well as the offensive materials located in rooms Ns-249 and NS-252.
       Thelr knowledge of these items demonstrates a lack of prudential judgment and reckless indifference to the rules of the
       organization that mean to prevent discrimination, harassment and promote an open and welcoming academfc
       environment.

       In addition to Mr. Gerwig and Mr. Nakajima's violations of the District's rules concerning harassment and discrimination.
       as well as the breach of their ethical duties, it appeared clear that they both had resisted and had acted in a spiteful
       manner towards their supervisor, Dr. Kailikole. Dr. Kaillkole Informed the fact finder that student reviews for
       Mr. Nakajima's class contained negative references to Dr. Kailikote that she attributed to comments by Mr. Nakajima
       made to student&.

       Indeed, Dr. Kailikole Is correct in her assumption here as Mr. Nakajima acknowledged that he had told students that
       somehow Dr. Kailfkole had promised addiUonat equipment. but thereafter had reneged on that promise. Mr. Nakajima
       indicated that students were upset by this news. Mr. Nakajima appeared to have told students this derogatory information
       abaut Dr. Kalllko!e in order to hold Dean Kalllkole out to hatred and ridicule by his students. There was no legitimate
       business reason for Mr. Nakajima to share such Information with his students but for to cause students to be angry at Dr.
       Kaillkole with whom Mr. Nakajima had differed and had actively resisted as a subordinate Instructor.

       3. Student Matter- Mr. Nakajima

       The facts in this matter demonstrate that in April 2009 the Physics and Engineering Department had been investigated by
       the United States Department of Education, Office of Civil Rights (Document Item D) conceming a violation of the
       Americans with Dlsabt1itieS Act. Immediately thereafter, members of the Physics and Engineering Department were
       required to undergo sensiUvity training In education concerning the ADA. and the idea concerning reasonable
       accommodations In an academic setting.

       Dr. Ftnkenthal provided the fact finder with an emaU exchange. Document Item C, between a student and Mr. Nakajima.
       This email indicates the student, who had a disability and used a wheelchair, requested an accommodation concerning
       the Physics 230 course and its required lab secUon. The student was clearly seeking some form of accommodation when
       he wrote, •1 was just wondering how flexible you would be under extreme circumstances. n

       Instead of working with the student and/or referring him to the District's Disability Resource Center, Mr. Nakajima wrote
       back to the student advising him to take "1.000 milligrams of Vitamin c. multivitamin, and CoQ-10, 50 milligrams or more
       every day, starting right now." Mr. Nakajima refused to entertain any sort of reasonable sort of accommodation for the
       studenfs disability and wrote in relevant part. ctl can't give you an extra treatment, but if you start taking care of yourself as
       I suggested, you should be doing better than a regular semester. n

       Here. the District, per Section 604 of the Rehabilitation Act of 1973 and Title II of the Americans with OisabDftles Act of
       1990, Ia obligated to provide accommodations to ensure the student's equal access to the District's programs and
       acUvfties. It Js the student's responsibility to notify instructors of the need for accommodations and thereafter the Instructor
       is required to refer the student to the Disabillty Resource Center and work with the student In order to provide reasonable
I
       accommQdations. In this instance, Mr. Nakajima failed in his obUgatlon in regard to this potential disability. In this case.
,.
I!     the student used a wheelchair, yet Mr. Nakajima purported to give the student advice on taking vitamins as opposed to

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  engaging in meaningful communication concerning the use of the Disability Resource Center and the allowance of some
  form of reasonable accommodation, as required by law.

  Added to this, this exchange occurred only months after the Physics and Engineering Department had undergone an
  investigation concemfng the very same sort of issue. Mr. Nakajima and others had been interviewed in this matter and
  later had received training concerning reasonable accommodation requests. Even so, Mr. Nakajima failed to provide
  these required steps in potentially accor~Jmodating this disabled student.

  4. Truthfulness

  Here, the greater weight of the credible evidence demonstrates that both Mr. Gerwig and Mr. Nakajima faDed to be truthful
  in their statements to the fact finder, as well as their statements during the June 22, 2017 meeting with District
  administrators concerning the offensive materials located ln rooms NB-252 and NB-249. As detaUed above, the greater
  weight of the aedlble evidence demonstrates that both Mr. Gerwig and Mr. Nakajima had knowledge of the materials that
  were displayed openly in areas that they frequented on a near dally basis.
  The facts were clear that both Mr. Nakajima and Mr. Gerwig were often located in and using rooms NS.252 and NB-249
  and were reasonably well aware of the Items that were posted on doors in which they would pass and on walls In areas
  lhat they often frequented. Their claims that they were unaware of these Items appear to this fact finder to be directly
  untruthful and offered merely for the purposes of evading culpability for allowing and/or encouraging the posting of such
  Items.

  Here, both Mr. Gerwig and Mr. Nakajima have failed to "accept thefr share of faculty responsibility for the governance of
  their institution• and Apractice intellectual honesty" as required by the Constitution of the Faculty of Palomar College. B.P.
  3050, the District's Institutional Code of Ethics, upholds "[iJntegrity as the foundation for all we do." Here, both Mr. Gerwig
  and Mr. Nakajima fa11ed to demonslrate integrity concerning their discussions on June 22, 2017, and then later when
  directly questioned specifically by the fact finder when questioned during this course of this fact-finding Investigation.

  Summarv of rmdlnas.

  There appeared. based on the investigation, to be a pattern and practice of posting and/or allowing the posting and/or
  display of objectionable material in or about the rooms used by Mr. Gerwig and Mr. Nakajima. The fact finder determined
  that Mr. Garcia Vdla, who was relatively new to the Department, was generally unaware of the true nature of the materials
  that had been displayed. However. both Mr. Gerwig and Mr. Nakajima both knew, or should have known. that the
  materials posted In the offices and rooms that they used on a consistent basis were Inappropriate, offensive and
  discriminatory in nature, and yet they allowed the materials to remain.

  The fact finder also determined that it appeared that both Mr. Gerwig and Mr. Nakajima both provided false information at
  a meeting on June 22, 2017 wherein they disavowed kno,.,edge of the documents that were the subject of this
  investigation. Indeed, both faculty told the fact finder that they were largely unaware of the materials. or had no
  recollection of having obseNed them. These statements were inconsistent with the facts as discovered in this
  investigation.

  In summary, based on the greater weight of the credible evidence. It appears that both Mr. Gerwig and Mr. Nakajima were
  or should have been aware that materials that were deemed objectionable, offensive and discriminatory In nature had
  been displayed and/or allowed to be displayed In offices and school areas under their dominion and control. Even though
  both professors feigned that they were unaware of these materials, the greater weight of the credible evidence
  demonstrates that they were aware of the materials, and allowed them to be displayed in the area. This behavior tends to
  demonstrate unbecoming conduct by these professors, as the materials were seen as objectionable, Inappropriate and
  discriminatory In nature.

  Additionally, the fact finder found that faculty members of the Physics and Engineering Department used a non·Distrlct
  website in order to disseminate a syllabus and other documents that students were required to read and/or sign and
  return. These documents were seen as warnlng documents that admonished students concerning their study habits and
  how to interact with other students. These warnings and instructions appeared Inconsistent with the District's goal In their
  educational pursuits.

  There was insufficient credible evidence to show that Mr. Garcia Vitia was aware of the nature of these materials due to
  his lack of tenure In the Physics and Engineering Department, and his lack of use and exposure to the areas in which the


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                                                                                                                Exhibit A
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   materials were displayed. The fact finder therefore determines that the allegations are sustained as to Mr. Gerwig and Mr.
   Nakajima, and not sustained as to Mr. Garcia Villa.


   ADMINISTRATIVE DETERMINATION.

   Based upon the investigator's assessment of the interviewees• credibility and documentary evidence, the burden or
   preponderance of evidence, which is required to uphold charge of unlawful discrimination and sexual harassment, is
   sufficient to sustain Or. Finkenthal's allegations on behalf of the anonymous student. The District's administrative
   determination Is therefore to sustain the complaint against Mr. Gerwig and Mr. Nakajima and to dismiss the complaint
   against Mr. Garcia Villa. This matter Is hereby refened to the District's administration for disciplinary actton against Mr.
   Gerwig and Mr. Nakajima.

    The allegatfons were received and Investigated as an informal complaint, although the District ensured that the usual
    steps undertaken in a formal Investigation were followed. Dr. Finkenthal and the anonymous student have the right to
    submit a formal written complaint of unlawful discrimination to the District in acccrdance with Title 5, § 59328 et. seq.
    using the form avaUable on the District website at http://www2.palomar.edu/pageslhrlfiles/2014/07/Discriminatlon-
  • Harassment-Complaint-Form-Web.pdf. The form is also avanable at the Human Resource Services office in room ST-1.
    A written complaint submitted In this manner may be filed up to one (1) year from the date on which the unlawful
    discrimination aUegedly occurred.

  The anonymous student also has the right to fde a complaint with United States Department of Education. Office of Civil
  Rights.     lnfonnation regarding filing a complaint with OCR is available on OCR's website at
  http:Jiwww2.ed.gov/abouUofficesllist/ocr/docslhowto.html or by caiUng OCR's office at (800) 421-3481.

  Respectfully submitted.

  Shawna H. Cohen
  Manager, Equal Employment Opportunity and Compliance
   and Deputy Title IX Coordinator
  Palomar Community College District
  November 1. 2017




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                                                                                                             Exhibit A
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